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FILED IN CLERK’S OFFICE
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IN THE UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF GEORGIA : JAN 20 202i
ATLANTA DIVISION f JAMS Ss iC HATTEN, Clerk
NV : / Deputy Clerk
JOHN DOE,
Civil Action File No.:
Plaintiff,
vs.

MOREHOUSE COLLEGE, INC.
(a Georgia Nonprofit Corporation)
STEPHANE DUNN in her official
capacity as Professor of English
and Academic Program Director
of the Cinema, Television and
Emerging Media Studies Program
and member of Fall 2018 CTEMS
Admission Committee; AVERY
WILLIAMS in his official capacity
as an Assistant Professor of
English, faculty member in the
Cinema, Television and Emerging
Media Studies Program and
member of the Fall 2018 CTEMS
Admissions Committee.
Defendants.

Nee ee ee ee ee ee ee ee ee ee ee ee ee ee ee ee ee ee ee ee ee” ee” ee”

Jury Trial Demanded

1:c21-Cy-9351

COMPLAINT

COMES NOW John Doe, Plaintiff, by and through counsel, and

hereby shows this Honorable Court the following:

JURISDICTION AND VENUE

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1.

 

 
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The jurisdiction of this Court over the subject matter of this action is
predicated on 28 U.S.C. § 1331 and 28 U.S.C. § 1367. This is a civil action
posing a federal question arising under 29 U.S.C § 794 (§ 504 of the
Rehabilitation Act of 1973) and its implementing regulations 45 C.F.R. § 84
et. seq. (specifically §§ 84.3(f); 84.3(h); 84.3(j)(1); 84.3(3); 84.4; and 84.41)
and Title VI of the Civil Rights Act of 1964 (42 U.S.C.A. §§ 2000d to 2000d-
7).

2.

This civil action also poses a state claim for fraud and deceit under
0.C.G.A. 51-6-2(a).

3.

Venue is proper pursuant to 28 U.S.C. § 1391 because a substantial
part of the events or omissions giving rise to the claims asserted herein
occurred in the District, and the Defendants are subject to personal
jurisdiction in the District. Defendant Morehouse College is located in the
District where Defendants Stephane Dunn and Avery Williams are
employed.

PARTIES

4.

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The Plaintiff, Jonn Doe, is a former student at Morehouse College
and a current resident of Los Angeles, California. During all relevant times
relevant to this complaint, the Plaintiff was a student of Morehouse College,
Inc. domiciled at 830 Westview Dr. SW, Atlanta, Georgia 30314.

5.

Defendant, MOREHOUSE COLLEGE, INC., is a Georgia nonprofit
corporation located at 830 Westview Drive, SW, Atlanta, GA 30314 and is
subject to the jurisdiction of this Court.

6.

During all relevant times relevant to this complaint, Defendant,
STEPHANE DUNN, was, and current is, a Professor of English and
Academic Program Director of the Cinema, Television and Emerging Media
Studies Program at Morehouse College, Inc. a Georgia nonprofit
corporation located at 830 Westview Drive, SW, Atlanta, GA 30314 and is
subject to the jurisdiction of this Court.

7.

During all relevant times relevant to this complaint, Defendant,
AVERY WILLIAMS, was, and currently is, an Assistant Professor of English
and a faculty member in the Cinema, Television and Emerging Media

Studies Program at Morehouse College, a Georgia nonprofit corporation

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located at 830 Westview Drive, SW, Atlanta, GA 30314 and is subject to
the jurisdiction of this Court.
GENERAL FACTUAL ALLEGATIONS
8.

The Plaintiff was a student at a Morehouse College, Inc.
(“Morehouse”) from August 2016 to May 2020. Having made his first short
film in 2009 at age 10, the Plaintiff accepted admission to attend
Morehouse College for the specific purpose of studying film in the Cinema,
Television and Emerging Media Studies Program (“CTEMS”), and he
moved from Los Angeles to Atlanta to achieve that goal. (See Exhibit D)

9.

On November 11, 2018, the Plaintiff applied to be accepted to the
CTEMS program by emailing an application package to
ctemsappfall18@gmail.com as prescribed by the department's admission
flyer.

10.

The application package included an information sheet (See Exhibit

C) and multiple essays (See Exhibit D).

11.

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The Plaintiff disclosed in his application essay that in 2018 he had
tested positive for the Human Immunodeficiency Virus (“HIV”) in the
Morehouse Community Health Center and since that time he dealt with
depression and increased anxiety. (See Exhibit D)

12.

The Plaintiff disclosed that his grade point average was 2.71 on the
information sheet. (See Exhibit C)

13.

On December 4, 2018, four members of the CTEMS Admission
Committee convened a meeting to review student applications for
admissions to the CTEMS program.

14.

The four members on the CTEMS Admission Committee included:
Defendant Stephane Dunn, who serves as the CTEMS Academic Program
Director; Defendant Avery Williams who serves as a CTEMS Faculty
Member; CTEMS Faculty Member Eric Baker; and Academic Advisor
Onoriode Evwaraye (See Exhibit A) who was not a CTEMS Faculty
Member, but who was assigned to be on the CTEMS Admission Committee
by Morehouse leadership as a result of admissions-related discrimination

complaints lodged against Defendant Stephane Dunn by Morehouse

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students Glen La’Veau and Anthony Raggs, Jr, and his father Anthony
Raggs, Sr., on July 20, 2918 at 8:16pm, and the legal action threatened by
Beatrice Louissaint on August 20, 2018 at 12:58pm regarding the same
matter.

15.

While the CTEMS Admission Committee reviewed the Plaintiff's
application, Defendant Avery Williams brought up the Plaintiff's HIV status
and suggested that the admission committee should not accept the Plaintiff
as a CTEMS student because he was HIV positive.

16.

Avery Williams stated, “I don’t know if we should admit a student who

is HIV positive. CTEMS is a very demanding major.”
17.

Eric Baker, who was disgusted and angered, pointed out to Avery
Williams and Stephane Dunn, “we can’t deny a student admittance to
CTEMS because he is HIV positive.

18.

Avery Williams stated that it was okay for the committee to consider

the Plaintiff's HIV status when deciding if he could become a CTEMS major

because the Plaintiff "put it out there" in his essay.

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19.

Outraged, Eric Baker pointed out the impropriety of such a point by

stating that it was “morally wrong and probably illegal.”
20.

Onoriode Evwaraye told Avery Williams and Stephane Dunn, “[Mr.
Baker] is right” and concluded his comments by stating that the committee
could not make a decision regarding the Plaintiff's application based on his
HIV status.

21.

Then, Avery Williams argued that the Plaintiff should not be admitted
because in the Plaintiff's essay he stated that he suffers from occasional
bouts of depression, which was related to the Plaintiff's HIV diagnosis.

22.

Again, Onoriode Evwaraye told Avery Williams and Stephane Dunn
that managed bouts of depression was also a diagnosis that the committee
was not allowed to use as a basis to deny the Plaintiff's application for
admission to the CTEMS program at Morehouse College.

23.
“Only after this final exchange did Avery Williams and Stephane

Dunn relent, and Doe was unanimously voted to become a CTEMS major,

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with Onoriode Evwaraye, Avery Williams, Stephane Dunn and [Eric Baker]
all yes.” (See Exhibit A)
24.

The CTEMS Admissions Committee adjourned without making any
further decisions regarding the Plaintiffs admission application and did not
convene any subsequent meetings regarding the matter.

25.

The CTEMS Admission Committee only discussed the Plaintiff's HIV
status and his occasional managed bouts of depression, and no other
factors, when reviewing the Plaintiff's admission application, and when
making its admission decision.

26.

On January 22, 2019 at 9:42am, the Plaintiff received an email (See
Exhibit B) from the CTEMS Committee (ctemsappfall18@gqmail.com)
indicating that “[t]he major committee received a range of applications and
did not approve yours.” The Defendants rejected the Plaintiffs admission
application without reconvening the CTEMS Admission Committee to
reconsider or reverse its prior decision admitting the Plaintiff to the CTEMS
program.

27.

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In January 2020, Eric Baker noticed that the Plaintiff was not on the
roster for his CTEMS class and was concerned because he remembered
the issues regarding his application.

28.

Eric Baker reached out to the Plaintiff and inquired about why he

wasn't on the CTEMS course roster.
29.

“When | asked him why he wasn’t on the CTEMS course roster, [the
Plaintiff] informed me that he had been rejected as a CTEMS major.” (See
Exhibit A)

30.

“TThe Plaintiff] replied that when all of the other applicants had
received acceptance or rejection letters, he hadn't received anything at all.
So, he emailed the CTEMS Director, Stephane Dunn to inquire about his
application. [The Plaintiff] said that Dunn then sent him an email stating
that the CTEMS Committee had rejected [the Plaintiff's] application.

31.

Morehouse College is a private entity which receives federal financial

assistance. According to the Morehouse College Office of Sponsored

Programs, Morehouse receives financial assistance from the following

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federal agencies: The Department of Health and Human Services’; The
U.S. Department of Energy*; The National Science Foundation*; The
Department of Education*, The National Endowment for the Arts°®; The
National Endowment for the Humanities®; The Department of the Interior’;
The Department of Agriculture’; The U.S. Nuclear Regulatory
Commission’; and The Department of Defense’®. Each agency has
regulations implementing § 504 of the Rehabilitation Act, which have been
cited, respectively.

SPECIFIC ALLEGATIONS

32.

The Plaintiff alleges that the Defendant specifically intended to
discriminate against him by (1) unilaterally rejecting his CTEMS application
(2) after the CTEMS Admissions Committee had decided to accept him in a
unanimous vote.

33.

 

| 45 CF.R. §§ 84.1 to 84.47

210 C.F.R. §§ 1040.61 to 1040.74
345 C.F.R. §§ 605.0 to 605.61
434 C.F.R. §§ 104.1 to 104.47
545 C.F.R. §§ 1151.1 to 1151.44
645 C.F.R. §§ 1170.1 to 1170.55
743 C.F.R. §§ 17.200 to 17.280
87 C.F.R. §§ 15b.1 to 156.42
°10 CER. 8§ 4.101 to 4.233
1032 C.F.R. §§ 56.1 to 56.10

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The Plaintiff alleges that the Defendants specifically intended to
discriminate against him because he was HIV positive by only considering
his HIV diagnosis, and by advocating to reject him because he was HIV
positive, when the CTEMS Admissions Committee considered his
application.

34.

The Plaintiff alleges that the Defendant, Stephane Dunn, was acting
within the scope of her employment as Academic Program Director of
CTEMS on January 22, 2019 at 9:42am when she rejected the Plaintiff's
CTEMS application via email after having participated in a unanimous vote
to accept him as a CTEMS major.

35.

The Plaintiff alleges that he was qualified to be a CTEMS major
because the CTEMS Admissions Committee voted unanimously to accept
him as a CTEMS major.

36.

The Plaintiff alleges that the Defendant did not have a posted

criterion for admissions.

37.

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The Plaintiff alleges that the Defendant, Morehouse College,
discriminated against him by denying his CTEMS application because he
was HIV positive after the CTEMS Admissions Committee determined that
he was qualified to be a CTEMS major by a unanimous vote to admit him.

COUNT ONE
VIOLATION OF § 504 OF THE REHABILITATION ACT OF 1973
AND ITS IMPLEMENTING REGULATIONS
38.

The allegations of paragraphs 1 — 37 are realleged and incorporated
herein by reference.

39.

29 U.S.C § 794 provides that: “No otherwise qualified individual with
a disability in the United States, as defined in section 705(20) of this title,
shall, solely by reason of her or his disability, be excluded from the

participation in, be denied the benefits of, or be subjected to discrimination
under any program or activity receiving Federal financial assistance or
under any program or activity conducted by any Executive agency or by
the United States Postal Service.”

40.

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45 C.F.R. §84.4 provides that: “No qualified handicapped person
shall, on the basis of handicap, be excluded from participation in, be denied
the benefits of, or otherwise be subjected to discrimination under any
program or activity receiving federal financial assistance.”

41.

The Plaintiff disclosed his HIV positive status and his related,

occasional bouts of depression in his CTEMS admission application.
42.

The Defendants rejected the Plaintiff's CTEMS admission application
and excluded him from participation in its CTEMS program because he is
HIV positive in violation of 29 U.S.C § 794 and 45 C.F.R. §84.4.

43.

The Plaintiff was a handicapped person within the meaning of 45
C.F.R. § 84.3(j)(1) which provides: “[hjandicapped person means any
person who (i) has a physical or mental impairment which substantially
limits one or more major life activities. The ADA Amendments Act of 2008
clarifies that “major life activities” includes “the operation of a major bodily
function, including ... functions of the immune system.” 42 U.S.C. §

12102(2)(B). As HIV critically impacts the immune system, it is within the

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ambit of the statute. Henderson v. Thomas, 913 F. Supp. 2d 1267 (M.D.
Ala. 2012).
44.

The Plaintiff was a qualified handicapped person within the meaning
of 45 C.F.R. § 84.3(1)(3) which provides that: “A qualified handicapped
person means, [with respect to postsecondary and vocational education
services, a handicapped person who meets the academic and technical
standards requisite to admission or participation in the recipient's education
program or activity.” The Plaintiff was admitted by the CTEMS Admission
Committee by a unanimous vote because he met the selection criteria and
was qualified.

45.

The Defendant is a post-secondary education program within the
meaning of 45 C.F.R. § 84.41 which provides: “Subpart E applies
to postsecondary education programs or activities, including postsecondary
vocational education programs or activities, that receive federal financial
assistance and to recipients that operate, or that receive federal financial
assistance for the operation of, such programs or activities.

46.

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The Defendant receives federal financial assistance within the
meaning of 45 C.F.R. § 84.3(h) which provides: “Federal financial
assistance means any grant, loan, contract (other than a procurement
contract or a contract of insurance or guaranty), or any other arrangement
by which the department provides or otherwise makes available assistance
in the form of: (1) funds; (2) services of federal personnel; or (3) real and

personal property or any interest in or use of such property [...].
47.

The Defendant is a recipient within the meaning of 45 C.F.R. § 84.3(f)
which provides: “Recipient means any state or unit of local government,
any instrumentality of a State or unit of local government, any public or
private agency, institution, organization, or other public or private entity,
or any person to which federal financial assistance is extended directly or
through another recipient, including any successor, assignee, or transferee
of a recipient, but excluding the ultimate beneficiary of the assistance.”
Morehouse is a private entity and a recipient of federal financial assistance.

48.

The Defendants’ action of wrongfully and unlawfully rejecting the

Plaintiffs CTEMS admission application violated the Plaintiff's civil rights

under § 504 of the Rehabilitation Act of 1973.

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49.

The Plaintiff has suffered emotional distress, increased anxiety and
mental anguish, as a result of being discriminated against because of his
HIV status by an alma matter that was once beloved. The Plaintiff revealed
his inner most secret to the Defendant and the Defendant unlawfully used it

against him.

COUNT TWO
FRAUD AND DECEIT
50.

The allegations of paragraphs 1 — 47 are realleged and incorporated
herein by reference.

51.

The Defendant, Stephane Dunn, misrepresented a material fact when
she emailed the Plaintiff a rejection notice after the admissions committee
voted to accept him.

52.

The Defendant's misrepresentation was made to induce the Plaintiff

to act by becoming a student in another academic program.

53.

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The Plaintiff acted upon the Defendant’s misrepresentation by

becoming a student in another academic program.
54.

The Plaintiff was injured by relying on the Defendant’s
misrepresentation because he paid finish to his degree in another
academic program when the CTEMS Admissions Committee vote entitled
him to finish his degree as a CTEMS major.

55.

The CTEMS Admission Committee vote entitled the Plaintiff to
complete his studies as a CTEMS major and the Defendants defrauded the
Plaintiff of his tuition and fees when they unlawfully and wrongfully rejected
his CTEMS admissions application after he had been admitted to the
program.

PRAYER FOR RELIEF

WHEREFORE, the Plaintiff respectfully requests a judgment against
the Defendants as follows:

1. Compensatory damages in the form of a reimbursement for tuition,
room and board charges from January 2019 through May 2020 in the
amount of $81,000 because the CTEMS Admission Committee vote

entitled him to complete his studies as a CTEMS major and Stephane

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7.

8.

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Dunn and Morehouse College defrauded the Plaintiff and took that
away from him by unlawfully rejecting his application. The Defendants
should be made to forfeit their profits and should not be allowed to

benefit from their deception, discrimination, and bad faith.

. Emotional distress damages in the amount of three million dollars

($3,000,000) because the Defendants had notice from the Plaintiff's
essays that he would suffer emotional distress from HIV-related

discrimination, and they did it anyway in an act of bad faith, and they

never took any steps to undo or redress the harm.

A published criterion for admission to the CTEMS program.

The establishment of an appeals process for the CTEMS program

application process.

. ACTEMS application appeals committee that includes student

leaders and faculty.

. Atrial by jury.

Cost of this action, including attorney’s fees; and

Such other relief that this Court deems proper and just.

Respectfully Submitted,

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Attorney for the Plaintiff

BY:

 

DAMON M. SCOTT
Ga. Bar No. 964680

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Atlanta, GA 30326

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EXHIBIT A

 
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WITNESS AFFIDAVIT

My name is Eric L. Baker. My industry “pen” name is Adisa Iwa. I am a
Faculty Member at Morehouse College in the Cinema, Television and Emerging
Media Studies (CTEMS) Program. I am one of the founders of the program. The
following are matters that I personally observed. In November 2018, I was on the

CTEMS admissions committee with CTEMS Department Chair Stephane Dunn,

CTEMS Faculty Member Avery Williams, and Onoriode Evwaraye. During the

CTEMS Committee meeting to decide which students would be accepted into
CTEMS, we began to discuss the application of a student whose name is being
replaced with the pseudonym “John Doe” or “Doe.”

Students are required to apply to the program to declare CTEMS as a major.
CTEMS majors develop skills in directing, screenwriting and storytelling as a
foundation for the intellectual and artistic study of film and television. The application
requires students to submit an answer sheet detailing their GPA along with essays
regarding their interest in filmmaking. In his essays, Doe disclosed that he was HIV
positive to demonstrate his human vulnerability, and ultimately his resilience and
determination to become a CTEMS major.

Doe has taken two classes with me: Intro to Television and Intro to Film. He

earned an A, and an A+, respectively.

T]Pace
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While discussing Doe's application, Avery Williams brought up Doe's HIV
positive status as a factor we should consider. Meaning, perhaps we should not
accept Doe as a CTEMS major because he's HIV positive.

Williams: You know Doe is HIV positive, right?

Baker: What does that have to do with anything?

Williams: Well...I don’t know if we should admit a student who is HIV
positive. CTEMS is a very demanding major, and--

Baker: What are you talking about? We can’t deny a student admittance into

CTEMS because he’s HIV positive!

Williams: Why not? He’s the one who put it out there. He talked about being
HIV positive in his essay, so that means it’s a factor we can use to reject him.

Baker: No it doesn’t mean that! That’s morally wrong, and it’s probably

illegal!

Williams: But--

Evwaraye: No. Adisa is right. We cannot reject him based on his HIV status.
Williams: Well...what about rejecting him because of the depression he talks
about in his essay?

Evwaraye: No. It’s illegal to deny him admittance because of clinical

depression, too.

Williams: Fine. Whatever.

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Only after this final exchange did Williams and Dunn relent, and Doe was
unanimously voted to become a CTEMS major, with Evwaraye, Dunn, Williams

and I all voting “Yes.”

 

In January of 2020, I noticed that Doe was not on the roster for my CTEMS
class. Remembering the drama around his HIV status, I was immediately
concerned. I found Doe’s phone number on his application, and I called him. When
I asked him why wasn’t he on the CTEMS class roster, Doe informed me that he
had been rejected as a CTEMS major. I responded, “That’s not true. The CTEMS
Committee voted you in.”

Doe replied that when all of the other applicants had received acceptance or
rejection letters, he hadn’t received anything at all. So, he emailed the CTEMS
Director, Stephane Dunn to inquire about his application. Doe said that Dunn then
sent him a email stating the CTEMS Committee had rejected Doe’s application.
The only factor or performance metric discussed to make decisions regarding
John Doe’s CTEMS application was his HIV status, and its residual effects.

Again, these are all matters that I personally observed, and this is not the
first time I have witnessed Williams and/or Dunn discriminating against a

Morehouse student with a protected status.

3] Paee

 
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Further, Affiant sayeth naught.

Affiant
Cia YIM 04s His Lona

Sworn and subscribed before me

this /F day of 4

GMM ary 20 ¢2/

 

Vi frit Yausty _ -
Notary Public(/ 4 Ze

Sian

a .;

‘mARy ‘PUBS SS
MEAS

 
 

 

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EXHIBIT B

 

 
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| From: CTEMS Morehouse <ctemsappfall18@gmail.com>
Sent: Tuesday, January 22, 2019 9:42 AM

To:

Subject:

Dear Mr.

and did not approve your application. Unfortunately, difficult choices are part of this process. Please consult the division advisor
Mr. Evawaraye in Wheeler Hall if you need further assistance making sure you continue your studies in your other current or
another focused major area. Regardless of your major, pursue your career goals with confidence. CTEMS faculty
mentoring and some key program opportunities are offered to all students. With integrity, focused work, and a
passion for learning and pursuing this career area path, you will realize your goals.

CTEMS COMMITTEE

This is a no reply email address. This communication is confidential intended for the email address owner of the
listed email address. This communication is confidential intended for the email address owner of the

 

 

 

 

|
|
Thank you for your application and your interest in the CTEMS program. The major committee received a range of applications
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EXHIBIT C

 
 

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3) MOREHOUSE:

BRB etncins Wana “stuEs

 

Information Sheet

(All items should be addressed)

Name _ . _ __ DATE \\{ 20] 20'6

LAST FIRST M.1.

 

Morehouse ID Number. ficial Classification _ _OUMIOV

Local Address £40 Westwew Dr. SW
Street

Atlanta, Gh  SGd!I¢t City/State/Zip Code

Local Telephone Number _

Previous Advisors (List Most Recent First) Oa cm ve ly myn Deus

Current Major_Undeolave d Minor (if any) _ Tworve

Expected Date of Graduation May 2 O2 O

Currently Employed? Off-Campus N IA Work-Study W | &

Have you taken any film and/or creative writing courses? Tutwe +o Film, tistve do TV
Creatwe Winey Fiction & Drama

Grades: ENG 101 ENG 102/ ENG 103 oT

Current Official Cumulative GPA 2..+

Student Signature

 
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EXHIBIT D
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Essay 1:

I intend to pursue a career as a screenwriter and director of photography after graduating
from Morehouse College. I created my first short film in 2009 as a last minute Father’s Day
present. It told the story of me and my siblings in a dismal alternate universe in which we did not
have our father around. I did not have the greatest confidence in the final product, my family
expressed then that I should consider becoming more seriously involved with filmmaking. In
middle and high school, I took every opportunity I to create video projects instead of traditional
poster boards. From my perspective as a queer-identifying Black man, there are many stories I
wish I had seen on television and in movies that are only now making their way to the forefront
of mainstream media. As a writer, the words put into your screenplays and manuscripts can make
a direct impression on people that take the time to listen to and read them. In such a position, I
find it important to tell stories that will entertain while telling stories of people that the trends in
storytelling today overlook. The focus on storytelling as the foundation of the CTEMS program
will help me put my ideas to paper with the skill to develop characters and stories that feel
authentic to the human experience and can impact the minds of readers and viewing audiences.

Photography has become one of my favorite hobbies in recent years. I bought my first
camera, a used Canon SL1 from Amazon, with money I saved from my 17th birthday. I’ve used
it to capture family and collegiate events, fun photo shoots and headshots for friends; even a
wedding. The photos I have captured over the years all tell their own stories. As a Director of
Photography in the industry, I would apply my love for the art to the television and film
mediums. Visual and aesthetic decisions impact the storytelling and reception of a movie as
much as the writing does. The mission of the CTEMS program includes a focus on the artistic

aspect of filmmaking which creates an opportunity for me to become exposed to a wealth of new

 
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and old visual styles and techniques. Classes within the program, such as Film Criticism &
Theory, will provide me with a background on the intent behind decisions made and risks taken

by filmmakers that have made their television shows and films critically praiseworthy.

Essay 2:

Building self-confidence has been one of the toughest challenges in my academic career.
Fear of judgment has kept me from pushing past my comfort zone in the classroom. While I was
never picked on for my intellectual ability, bullying regarding my self-expression greatly
diminished my desire to put myself out there. Many teachers and professors express that there
are no stupid questions that can be asked, but I’ve often opted to let my fears stop me from
raising a hand. Even in moments where I knew the answer to a question, I assumed that a smarter
student in the class would find my bold declaration of an incorrect answer amusing. This feeling
plagued me in high school, although I have managed it much more maturely in college. The
realization that I have to develop my skills as an individual, and that I cannot do so while
operating out of fear, has motivated me to become more vocal inside and outside of the
classroom. I’ve joined campus organizations such as Safe Space, the LGBTQ+ collective at
Morehouse, which has given me a place to have a voice on issues that matter to me and to be a
voice for change in my community. Through this experience, I have begun to work toward an
unwavering confidence expressing in my feelings and ideas, which has translated to my

participation in the classroom.

In 2018, I encountered a challenge that nothing in my adolescence could have prepared

me for. I tested positive for Human Immunodeficiency Virus in the Morehouse College Health
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Center. My initial reaction to the news was calm and almost detached. As a young black man, I
was acutely aware of the stigma that I would face from within my own community at
Morehouse. Since then, I have dealt with depression and increased anxiety. This has in one way
or another affected my ability to give one-hundred percent of myself to my academics. In a way,
it was a call to action. Although it is not a death sentence, awareness of mortality and constant
attention to my physical and mental wellbeing became real for me at 19 years old, and I was
eventually forced to recognize that I must make the most of the long and healthy life that I have
ahead of me. I’ve taken much time and devoted it to exploring healthy methods of self-care and
use photography as an outlet. I have developed and maintained a strong support system in my
close friends at Morehouse, and those around me continue to check on me and my progress
toward getting my life back. I work harder every day to move on from the trauma of the

diagnosis and to push myself to excel in school.

Essay 3:
This motel room is the dingiest I’ve worked from. The wallpaper is beige, but I can tell it

started out white. He’s late ten minutes, but what position am I in to flake on him? Mona Lisa by
Nat King Cole slinks from the RCA radio in the corner, can’t think of a man with a smoother
voice. Client is late half an hour, and I have someone booked after. Four knocks at the door. My
breath catches in my throat for a moment, the nerves don’t get better with time. I peek out with
the chain locked, just to catch a glance of him. I’d bet fifteen dollars he pulled up in a Coupe
deVille.

“Half up front,” I say.

He pushes a bill into the crack in the door. President Frankin and I stare into each other's

eyes for a moment. I grab for it and shut the door. For a second, I think that I'm fine with leaving
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him there with the door shut, but if 1 get through this, there’s more where that came from. I lead
him in from the hallway, and he seems relieved that I opened up. I sense from this stiffness that
he’s afraid or unsure what to do next, so I drop my top.

“I’m K. What’s your name sugar?” I ask, lighting a cigarette from the side table.

“R-Richard,” he stammers, “You can put that back on.”

He hands me my shirt from the floor. My instincts say to take offense, that he doesn’t like
what he sees. He probably sees me as another Jap. But he’s paying. I feel his eyes meticulously
scanning me as we take a seat on the bed.

“Why are you here?” he asks.

“To make ends meet,” I reply.

“IT know that much,” he scoffs, “but I want to know about you.”

I’ve never heard that from a client before. But I haven’t been asked about me by anyone
for as long as I can remember.

“My family is just moving back from Arizona. We were sent to one of the camps,” I say.
He nervously shifts in his seat. “My parents lost their tailoring shop.”

“Sorry to hear that. Everyone okay?” He adjusts his collar; there’s a ring on his left hand.

“My mom is are alright, considering the shop. My sister was too young to remember the
earliest days. Those were the darkest.” I take another pull of my cigarette. “You have a wife?”

He shifts to his right, and sighs. “I don’t think I do anymore. She left, said the firm was
eating up too much of my time. I just need someone to talk to.”

“Well, did you have any kids?”

“No kids. I’m the youngest outta my siblings, and they all have at least two. You have

any?” I’m back on the train away from Los Angeles toward the cage with Elisa in my lap.

 

 
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“Yeah. My baby sister’s a genius.”

“What’s her name?”

“Elisa. She’s in 5"" grade. Knows math better than I could ever hope to. She’s going to
one of those universities if I have anything to do with it. Schools in the camps weren’t the
greatest, so I’m not so interested.” Richard finally looks me directly in the eyes, into the soul of
the person that I am and not the body. It makes me feel lighter than I did before he got here.

“Well I hope you can help her reach that,” he says.

I catch the clock on the wall is three minutes to 1. | have no choice but to cut him loose,
right when I was feeling good again. Been while since that. “It’s about that time Rich. I
appreciate the chat.”

He stands, the smile he suppresses suggests gratitude. “If you need a job, the firm could

use a receptionist,” He says handing me a tattered business card and two more hundred bills.

“Thank you, K.” He leaves me, just as I was before. I choose not to answer the next four knocks.
